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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



GARY J. BYRNE / GJB, LLC,

                       Plaintiff,                           Civil Action No. 1:18-cv-1422 (PLF)

       v.

THE CLINTON FOUNDATION, ET AL.,

                       Defendants.


                      DECLARATION OF SAMBO DUL
     IN SUPPORT OF MOTION FOR ADMISSION OF ATTORNEY PRO HAC VICE
       I, Sambo Dul, hereby declare:

            1. My name is Sambo Dul.

            2. My office address is 2901 N. Central Avenue, Suite 2000, Phoenix, Arizona

85012. My telephone number is (602) 351-8204.

            3. I am a member of the following bars:

               a.      Arizona State Bar (030313);

               b.      New York State Bar (4895009);

               c.      United States District Court for the District of Arizona;

               d.      United States District Court for the Eastern District of New York;

               e.      United States District Court for the Southern District of New York; and

               f.      Unites States Court of Appeals for the Eleventh Circuit.

            4. I certify that I have never been disciplined by any bar.

            5. I have not been admitted pro hac vice in this Court within the past two years.

            6. I am supervised by members of the District of Columbia Bar.

            7. I certify that I am personally familiar with the Local Rules of the United States

District Court for the District of Columbia.
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           I declare under penalty of perjury that the foregoing is true and correct. Executed in

Phoenix, Arizona, this 6th day of August, 2018.
                                                  Respectfully submitted,

                                                  PERKINS COIE LLP


                                                  By: /s/ Sambo Dul
                                                      Sambo Dul
                                                      SDul@perkinscoie.com


                                                  Attorneys for Defendants
                                                  David Brock, Media Matters for America, True
                                                  Blue LLC d/b/a Shareblue Media, Correct the
                                                  Record, American Bridge 21st Century, and
                                                  Citizens for Responsibility and Ethics in
                                                  Washington




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